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                               UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
                                         CASE NO.:

  GAMALY HOLLIS,
      Plaintiff,
  vs.

  MIAMI-DADE COUNTY, FLORIDA; a
  Florida County and Political Subdivision of
  the State of Florida; and JEAN DORVILIER,
  Miami-Dade County Correctional Officer, in his
  individual and official capacity.

        Defendants.
  __________________________________________/

                                               COMPLAINT

          COMES NOW plaintiff, GAMALY HOLIS (hereinafter referred to as “Plaintiff”), by and

  through the undersigned counsel and do hereby file this Complaint against the defendants, MIAMI-

  DADE COUNTY, FLORIDA; and MIAMI-DADE COUNTY CORRECTIONAL OFFICER

  JEAN DORVILIER, Individually (hereinafter collectively referred to as “Defendants”). In support

  thereof, Plaintiffs state the following:

                                     JURISDICTION AND VENUE

          1.      This is an action for damages in excess of Seventy-Five Thousand Dollars

  ($75,000.00), exclusive of interest, costs, and attorneys’ fees.

          2.      Venue is proper in Miami-Dade County, Florida, because the acts and omissions giving

  rise to this Complaint occurred in Miami-Dade County, Florida.

          3.      Jurisdiction is vested in this Court pursuant to 28 U.S.C. § 1331 [federal question] and

  28 U.S.C. § 1343 [civil rights].
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                                                PARTIES

          4.       Plaintiff, GAMALY HOLLIS (“Plaintiff”), is a resident of Miami-Dade County,

  Florida and is otherwise sui juris.


          5.       Defendant, MIAMI-DADE COUNTY, FLORIDA, is a municipal corporation and

  governmental subdivision which is organized and existing under the laws of the State of Florida. The

  County owns, operates, manages, directs and controls the MIAMI-DADE COUNTY

  CORRECTIONS AND REHABILITATION DEPARTMENT.

          6.       Defendant, OFFICER JEAN DORVILIER (hereinafter collectively referred to as

  “Defendant Dorvilier”), is an employee of the MIAMI-DADE COUNTY CORRECTIONS AND

  REHABILITATION DEPARTMENT, and thus an employee of Defendant MIAMI-DADE

  COUNTY, and upon information and belief are residents of Miami-Dade County, Florida and is

  otherwise sui juris.

          7.       Defendant Miami-Dade County was at all times relevant to this Complaint responsible

  for its employees, including the employees of Miami-Dade County Corrections and Rehabilitation

  Department. Miami-Dade County is charged under the law with the duty of hiring, supervising,

  training, disciplining, and establishing policy such that the conduct of its employees will conform to

  the Constitutions and laws of the State of Florida and of the United States of America.

          8.       Miami-Dade County, and its officer, Defendant Dorvilier, are “persons” for purposes

  of 42 U.S.C. Section 1983.

          9.       At all times relevant to this cause, Defendant Dorvilier acted in conformance with

  policy pertaining to, among other things, investigation, arrests, and use of force, as set by Miami-Dade
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  County, as well as acting within the course and scope of their employment. At all times, Defendants

  acted under color of law.

            10.   This lawsuit arises out of Defendants' violation of Plaintiff’s federal constitutional

  rights as secured by the Fourteenth Amendment to the United States Constitution and consequently,

  Plaintiff has a viable claim for damages under 42 U.S.C. § 1983. Plaintiff also has viable state law

  claims.

                                      GENERAL ALLEGATIONS

            11.   On November 1, 2017, Plaintiff was unlawfully battered by Defendant Dorvilier.

            12.   On that day, Plaintiff, appeared before Judge Milton Hirsch in Courtroom #2-5 at

  approximately 9:00 a.m.

            13.   During the court appearance, Judge Hirsch offered for Plaintiff to enter a program.

            14.   Plaintiff refused to enter the program.

            15.   Upon Plaintiff’s refusal, Judge Hirsch sentenced her and placed her in custody.

            16.   Plaintiff was escorted out of the courtroom by two Miami-Dade Police Officers.

            17.   Plaintiff’s personal property was processed and she was placed into a holding cell to

  await Miami-Dade Corrections and Rehabilitation Department Officers.

            18.   Plaintiff asked the Miami-Dade Police Officer what time the correctional officers would

  be arriving.

            19.   The police officer stated the correctional officers were expected to arrive at 11:00 a.m.

            20.   Defendant Dorvilier and another Corrections Officer, Officer Anesta Hamilton,

  arrived at approximately 1:00 or 1:30 p.m.

            21.   Upon Defendant Dorvilier’s arrival, Plaintiff stated, “It’s about time! What took you so

  long?”
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          22.     Defendant Dorvilier replied that he “can see why you are in jail.”

          23.     Plaintiff asked Defendant Dorvilier if she could have some water from her water bottle.

          24.     Defendant Dorvilier refused her request for water.

          25.     Defendant Dorvilier took three male arrestees, also awaiting transport, out of their

  holding cell.

          26.     Officer Hamilton escorted the three male arrestees to the hallway.

          27.     Defendant Dorvilier brought Plaintiff out of her holding cell.

          28.     Plaintiff again requested water.

          29.     Defendant Dorvilier denied the request.

          30.     Plaintiff replied to the refusal by stating, “I never leave here until you give me water.”

          31.     Defendant Dorvilier threw Plaintiff’s water in the trash can.

          32.     Defendant Dorvilier attempted to pull Plaintiff while putting handcuffs on her.

          33.      Plaintiff did not willfully move.

          34.      Defendant Dorvilier punched Plaintiff in the face with a closed fist approximately 3

  or 4 times consecutively.

          35.      Plaintiff fell to the ground.

          36.      When Plaintiff was able to get back on her feet, Defendant Dorvilier struck her again.

          37.      As a result of being punched in the face multiple times, Plaintiff spit at Defendant

  Dorvilier.

          38.      Officer Hamilton heard Defendant Dorvilier say, “The bitch spit on me” and that

  Defendant Dorvilier had punched the Plaintiff.
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           39.     Officer Hamilton re-entered the holding cell area with Defendant Dorvilier and

  Plaintiff.

           40.     Officer Hamilton did not witness the incident, spit, or punch; Officer Hamilton just

  heard Defendant’s Dorvilier’s statement that Plaintiff had spit on him and his admission he punched

  the Plaintiff.

           41.     Defendant Dorvilier escorted Plaintiff from the holding cell area.

           42.     There is no surveillance footage depicting the incident between Plaintiff and Defendant

  Dorvilier.

           43.     There were no witnesses to the incident between Plaintiff and Defendant Dorvilier.

           44.     At all times relevant to this incident, Plaintiff was unarmed and handcuffed, posing no

  threat of immediate harm or death to Defendant Dorvilier.

    COUNT I: DEPRIVATION OF CIVIL RIGHTS BY EXCESSIVE USE OF FORCE IN
       VIOLATION OF 42 U.S.C. SECTION 1983 AGAINST ALL DEFENDANTS

           45.     Plaintiff hereby re-alleges and incorporates by reference the allegations contained in

  paragraphs 1 through 44 above.

           46.     Plaintiff posed no risk of harm to Defendant Dorvilier or Officer Hamilton.

           47.     Plaintiff was unarmed and locked in a holding cell.

           48.     Defendant Dorvilier provided no verbal commands to Plaintiff.

           49.     Defendant Dorvilier physically pulled on Plaintiff while restraining her with handcuffs.

           50.     As Plaintiff stood firmly to from where she was standing, Defendant Dorvilier

  repeatedly punched Plaintiff in the face with a closed fist, causing Plaintiff to fall to the ground. Upon

  her standing back up, Defendant Dorvilier again punched her in the face with a closed fist.
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           51.    Plaintiff was unarmed, restrained by handcuffs, and Defendant Dorvilier had not given

  her any commands that she disobeyed.

           52.    As such, the battery of Plaintiff was unjustified, constituted an unreasonable and

  excessive use of force, and demonstrated deliberate indifference to her constitutional civil rights.

           53.    Defendant Dorvilier, while acting under color of law as authorized officers and agents

  of Miami-Dade County and the Miami-Dade Corrections and Rehabilitation Department, and while

  attempting to transport Plaintiff in purported furtherance of his official duty, caused a constitutional

  deprivation of the rights of Plaintiff, under the Eighth and Fourteenth Amendments to the United

  States Constitution and the comparable provisions of the Florida Constitution.

           54.    The actions alleged in this complaint directly and proximately resulted in injury to

  Plaintiff.

           55.    The deprivation of Plaintiff’s constitutional rights was proximately and substantially

  caused by Miami-Dade County and the Miami-Dade County Corrections and Rehabilitation

  Department by a:

                  a.      Deliberate indifference in having a policy and/or custom and practice that
                          directs law enforcement officers in the use of force absent the required
                          existence of objective facts to support such action, and/or
                  b.      Deliberate indifference in having a policy and/or custom and practice of failing
                          to discipline law enforcement officers who use force improperly and who
                          unreasonably assault and batter persons resulting in implicit approval of such
                          actions, and/or
                  c.      Deliberate indifference in failing to properly train law enforcement officers in
                          the proper and legal use of force and sanctioning improper use of force,
                          and/or
                  d.      Failing to appropriately, train, supervise, discipline, and otherwise manage law
                          enforcement officers in the safe and professional methods of inmate transport
                          between governmental agencies and use of force.
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          57.    Further, Defendant Miami-Dade County has an unofficial policy or custom of

  conducting insufficient investigations calculated to exonerate its officers when its officers are accused

  of using excessive force during encounters with civilians.

          58.    Pursuant to this unofficial policy or custom, despite there being thousands of excessive

  force complaints lodged against its officers, not a single Miami-Dade County officer has been

  suspended without pay, arrested, or fired except in cases where the excessive force is caught on tape

  and is so patently obvious that no possible defense can be raised.

          59.    In accordance with this policy, Miami-Dade County also has no system in place to

  supervise its officers’ activities to make sure that evidence incriminating its officers during excessive

  use of force incidents can be collected and preserved.

          60.    Because of this, the only times in recent history that any of the Defendant Miami-Dade

  County officers have been suspended without pay, arrested, or fired have been times when civilians

  capture the incident on cell-phone video and release that tape to the media.

          61.    Defendant Miami-Dade County’s officer protectionist custom is so widespread that at

  least on one occasion an officer has been captured on tape punching civilians without any justification,

  and the officer has been allowed to retain his pay and has not been arrested.

          62.    Defendant Miami-Dade County implements this officer protectionist policy in two

  ways: 1) by not prosecuting, reprimanding, or firing officers who use excessive force unless there is

  video tape evidence of the excessive force that is conclusive beyond all doubt, and 2) creating an

  environment among its officers that discourages the officers from speaking out when they witness

  fellow officers engaging in excessive use of force.
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           63.    Pursuant to Defendant Miami-Dade County’s unofficial custom, even when the use of

  force is indefensible and readily apparent from video evidence, officers are routinely allowed to remain

  on the job, arrest free, and without repercussions for months at a time.

           64.    As a result of this policy officers who routinely use excessive force on civilians they

  encounter move up in the ranks in the Miami-Dade Police Department.

           65.    Similarly, the County implements this policy by conducting one-sided investigations

  into use of force incidents where the word of the officers automatically carries more weight than the

  words of the civilian witnesses.

           66.    Furthermore, instead of arresting and prosecuting its officers based on the standard of

  probable cause, the standard by which every arrest is measured in the United States, Miami Dade

  County has instituted an unofficial policy where officers are not to be arrested unless there is evidence

  beyond all shadow of a doubt.

           67.    Under this policy eyewitness testimony is not enough to sustain findings during internal

  affair investigations, let alone arrest or discipline its officers.

           68.    As such, none of the Miami-Dade County employees interviewed during the Internal

  Affairs investigation witnessed the incident between Defendant Dorvilier and Plaintiff, and in fact

  some of their statements contradict each other and the statements made by Defendant Dorvilier and

  Plaintiff.

           69.    Yet, Plaintiff’s statement and evidence were dismissed in favor of finding Defendant

  Dorvilier’s use of force justified.

           70.    In a County where people are routinely prosecuted at the state level for charges ranging

  from misdemeanors to homicide based on the testimony of a single eyewitness, this policy is an outlier

  that serves to incentivize the County’s officers to commit acts of violence against civilians.
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          71.     The County’s policy has the effect of causing officers to feel empowered to use

  excessive force against the civilians that they encounter in their day-to-day activities.

          72.     The effect of the County’s custom of protecting officers who use excessive force can

  also be gleaned from the suspensions and prosecutions in recent history.

          73.     Miami Dade County Mayor Carlos Gimenez has gone as far as vetoing the Civilian

  Independent Review Panel in February of 2018, a panel that is tasked with conducting reviews of the

  Miami Dade Police Department and its officers’ use of force incidents.

          74.     To date, not a single one of the officers who have stood by and failed to report while

  another officer uses excessive force has been reprimanded, fired, or prosecuted for failing to report

  the illegal actions of his fellow officers.

          75.     Nor has Defendant Dorvilier been reprimanded or disciplined in any way for his failure

  to: notify his immediate supervisor regarding the incident with Plaintiff, generate an incident report

  prior to the conclusion of his shift, obtain subject statements from both the Plaintiff and witness

  statements from the male arrestees who were present in the holding cell. Nor has Defendant Dorvilier

  faced any disciplinary measures regarding his lack of professionalism in his profane statements

  referring to the Plaintiff.

          76.     These actions not only ratify the officers’ illegal behavior, but also encourages and

  contributes to officers’ excessive use of force on civilians.

          77.     As a result of the County’s unofficial policy of protecting officers who use excessive

  force, Defendant Dorvilier felt encouraged and compelled to violate Plaintiff’s constitutional rights

  by using excessive force against her.

          78.      As a direct result of the grossly negligent misconduct of Defendants as set out in this

  Complaint and associated deliberate indifference, Plaintiff was injured, and is entitled to recover
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   damages flowing from the deprivations of Plaintiff’s constitutional rights under the Eighth and

   Fourteenth Amendments to the United States Constitution and the corresponding provisions of the

   Florida Constitution and Federal Law.

           79.     Plaintiff is entitled to attorney's fees expended in this litigation pursuant to 42 U.S.C.

   Section 1988.

           WHEREFORE, Plaintiff demands judgment and compensatory and punitive damages against

   Defendants, and in addition demands attorney's fees and costs pursuant to 42 U.S.C. Sections 1983

   and 1988 and demands trial by jury on all issues so triable.

                      COUNT II: BATTERY UNDER FLORIDA STATE LAW
                           AGAINST DEFENDANT DORVILIER

      80. Plaintiff hereby re-alleges and incorporates by reference the allegations contained in

           paragraphs 1 through 79 above.

      81. Defendant Dorvilier offensively touched Plaintiff by physically pulling her.

      82. Defendant Dorvilier offensively touched Plaintiff by repeatedly punching her in the face with

           a closed fist.

      83. At no time did Plaintiff permit or consent to being touched in such a manner.

      84. At no time did Defendant Dorvilier give Plaintiff a command which she refused to follow,

           which would have warranted the offensive touching.

      85. Defendant Dorvilier’s offensive touching exceeded the scope of physical contact warranted

           to place handcuffs on Plaintiff and escort her to be transported.

      86. As a direct result of Defendant Dorvilier’s battery of Plaintiff, Plaintiff was injured, and is

           entitled to recover damages.
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           WHEREFORE, Plaintiff demands judgment and compensatory damages against Defendant

   Dorvilier, and in addition demands trial by jury on all issues so triable.


   COUNT III: NEGLIGENT FAILURE TO TRAIN AND SUPERVISE UNDER 42 U.S.C.
          SECTION 1983 AGAINST DEFENDANT MIAMI-DADE COUNTY

           87.      Plaintiff hereby re-alleges and incorporates by reference the allegations contained in

   paragraphs 1 through 86 above.

           88.     Pursuant to §768.28(6), Florida Statutes, Plaintiff presented this claim in writing to

   Miami-Dade County and the Miami-Dade Security and Internal Affairs Bureau. The Security and

   Internal Affairs Bureau conducted an investigation within the prescribed time limit and denied

   Plaintiff’s claim.

           89.     All conditions precedent to filing this action have been met by Plaintiff.

           90.     On November 1, 2017, Defendant Dorvilier was acting within the course and scope of

   their employment as Miami-Dade County correctional officers.

           91.     Because of the failure of Miami-Dade County and the Miami-Dade Corrections and

   Rehabilitation Department to properly train and supervise police officers in the use of force,

   Defendant Dorvilier breached the duties owed to Plaintiff, conducting himself in a careless and

   negligent manner under circumstances in which a reasonable law enforcement officer would not have

   believed Plaintiff posed an immediate threat of death or serious bodily harm to Defendant Dorvilier

   or to anyone else.

           92.     Defendant Dorvilier breached the duties owed to Plaintiff when he failed to adhere to

   accepted law enforcement standards and practices for restraining and transporting subjects.

           93.     Defendant Dorvilier used an excessive amount of force in assaulting Plaintiff repeatedly

   without cause and in a reckless and negligent fashion.
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           94.   Further, Defendant Miami-Dade County failed to properly train and supervise

   Defendant Dorvilier.

           95.   Defendant Miami-Dade County breached its duties of reasonable care in the following

   ways:

                  a.       By failing to properly train, instruct and manage its officers with respect to the
                           use of force, and/or
                  b.       By negligently and carelessly failing to supervise its agents and officers with
                           respect to the use of force, and/or
                  c.       By negligently and carelessly failing to otherwise educate, inform, train, instruct
                           and assess the officers involved with regards to the proper techniques for
                           detaining and transporting subjects, and other police techniques and methods,
                           and/or
                  d.       By otherwise failing to exercise appropriate supervision and control over the
                           officers involved such that but for such negligent oversight, the assault would
                           not have occurred, and/or
                  e.       By carelessly and negligently failing to appropriately discipline its officers for
                           past infractions, and/or
                  f.       By negligently and carelessly failing to provide available resources, back-up, and
                           support for its officers in the field such that those officers resorted to the use of
                           unnecessary and excessive force.

           96.   Defendant Miami-Dade County failed to properly supervise these officers by providing

   supervisors who would rubber-stamp any use of force reports made regardless of whether the force

   was excessive or not.

           97.    Defendant Miami-Dade County has an unofficial policy or custom of conducting

   insufficient investigations calculated to exonerate its officers when its officers are accused of using

   excessive force during encounters with civilians.

           98.   Miami Dade County Mayor Carlos Gimenez has gone as far as vetoing the Civilian

   Independent Review Panel in February of 2018, a panel that is tasked with conducting reviews of the

   Miami Dade Police Department and its officers’ use of force incidents.
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             99.   These actions not only ratify the officers’ illegal behavior, but also encourages and

   contributes to officers’ excessive use of force on civilians.

             100. Defendant, Miami-Dade County, owed Plaintiff, as well as all residents of Miami-Dade

   County, a duty of care to hire and retain and supervise competent, law abiding officers, as well as to

   enact policies that ensure that officers do not use excessive force against civilians.

             101. Defendant, Miami-Dade County, breached its duty of care to Plaintiff by hiring and

   retaining, and improperly supervising Defendant Dorvilier.

             102. As a proximate and direct result of the negligence of Defendant Miami-Dade County,

   Plaintiff suffered severe mental and emotional distress, and bodily injury resulting in physical pain and

   suffering and diminished health, mental pain and suffering, loss of the capacity for the enjoyment of

   life, the expense of medical care and treatment, loss of earnings, and diminution and loss of the ability

   to earn money which are either permanent or continuing to this day and are likely to continue into the

   future.

             WHEREFORE, Plaintiff demands judgment for compensatory damages and court costs

   against Defendant Miami-Dade County, pursuant to 42 U.S.C. Sections 1983 and 1988 and requests

   trial by jury on all issues so triable.

                                    COUNT IV: VICARIOUS LIABILITY

             103. For every count, the Plaintiff asserts vicarious liability against Defendants Miami-Dade

   County and Miami-Dade Police Department for all actions undertaken by the individual Defendants,

   who engaged in the described conduct while acting in the course and scope of employment for the

   institutional defendants or as their agents, and carried out the policies, customs, practices, and

   procedures of the institutional defendants.
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                                        PRAYER FOR RELIEF


          WHEREFORE, PLAINTIFF, GAMALY HOLLIS, demands a trial by jury, and judgment

   against the DEFENDANTS, MIAMI-DADE COUNTY, and MIAMI-DADE COUNTY

   CORRECTIONS OFFICER JEAN DORVILIER, in his individual and official capacity for special

   damages, damages for past, present, and future medical expenses, compensatory damages, exemplary

   and punitive damages, pain and suffering, and impairment of future earning capacity, together with

   attorney’s fees and the costs of this suit and such other relief as the court may deem just and proper.


   Dated this 7th day of May 2020.
                                                                  Respectfully submitted,
                                                                  LETT LAW, PLLC
                                                                  Attorney for the Plaintiff
                                                                  6303 Blue Lagoon Drive
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                                                                  Ariel Lett, Esq.
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